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 8
                                  UNITED STATES DISTRICT COURT
 9
                               NORTHERN DISTRICT OF CALIFORNIA
10

11    IN RE: CATHODE RAY TUBE (CRT)  )            Master File No. CV-07-5944 SC
      ANTITRUST LITIGATION           )
12                                   )            MDL No. 1917
                                     )
13                                   )            DECLARATION OF JOSEPH M.
                                     )            PATANE IN SUPPORT OF
14                                   )            INDIRECT PURCHASER PLAINTIFFS’
15                                   )            RESPONSE TO OBJECTIONS TO FINAL
                                     )            APPROVAL OF SETTLEMENT WITH
16                                   )            LG ELECTRONICS, INC.; LG
                                     )            ELECTRONICS USA, INC.; AND LG
17                                   )            ELECTRONICS TAIWAN TAIPEI CO.
                                     )            LTD.
18                                   )
19    This document relates to:      )            Hearing Date: April 18, 2014
                                     )            Time: 10:00 a.m.
20    ALL INDIRECT PURCHASER ACTIONS )            Courtroom: One, 17th Floor
                                     )            Judge: Honorable Samuel Conti
21                                   )
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 1           I, Joseph M. Patane, declare:

 2           1.      I am an attorney duly licensed by the State of California and am admitted to

 3    practice before this Court. I am counsel for the Indirect Purchaser Plaintiffs (“Plaintiffs”) in the

 4    above-captioned action. The matters set forth herein are within my personal knowledge and if

 5    called upon and sworn as a witness I could competently testify regarding them.

 6           2.      In an attempt to discover the true nature of Mr. Silvestri’s CRT purchases and

 7    correct his misapprehensions regarding attorneys’ fees and the cost set-aside, I called David

 8    Lake, counsel for Donald Silvestri, on March 25, 2014. I left Mr. Lake a voicemail explaining

 9    that I wanted to discuss his client’s objections to see if we could resolve them informally and

10    requested a return call. To date, Mr. Lake has not returned my call.

11           3.      I also telephoned Mr. Sam Cannata, counsel for objector Jill K. Cannata, on

12    March 25, 2014. I left a voicemail informing him I was calling to discuss his client’s objection. I

13    requested a return call from Mr. Cannata, a photograph of the serial number of the CRT

14    television purchased by Ms. Cannata, and the name and location where his client purchased the

15    television.

16           4.      I followed up on my telephone call to Mr. Cannata by email on March 26, 2014.

17    Mr. Cannata responded by email the same day stating that his client purchased the television in

18    Cleveland, Ohio and attaching a photograph of the serial number of the television. A copy of Mr.

19    Cannata’s email is attached hereto as Exhibit 1.

20           5.      On March 26, 2014, I spoke with Mr. Cannata and informed him that since the

21    television was purchased in Ohio, his client was not a member of any of the State Damages

22    Classes, that she had no standing to object to the Settlement and she would receive no money on

23    distribution of the Settlement funds. Mr. Cannata said he would consider advising his client to

24    withdraw her objection and would get back to me. To date, I have not heard back from Mr.

25    Cannata.

26           6.      Sam P. Cannata has submitted objections to fourteen recent class action

27    settlements: Gemelas v. The Dannon Co., Inc., No. 1:08-cv-00236 (N.D. Ohio 2010); Smith v.

28    Wrigley, Jr. Co., No. 09-60646 (S.D. Fla.); Marsikyan v. Mercedes-Benz USA, LLC, No. 2:08-cv-

                                                    1
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 1    04876-AHM-FMO (C.D. Cal. 2010); In re Lawnmower Engine Horsepower Mktg. & Sales

 2    Practices Litig., No. 2:08-md-01999-LA (E.D. Wis. 2010); In re Vytorin/Zetia Mktg., Sales

 3    Practices & Prods. Liab. Litig., No. 2:08-cv-00285-DMC-FM (D.N.J. 2010); Hall v. AT&T

 4    Mobility LLC, No. 2:07-cv-05235-JLL-ES (D.N.J.); Hartless v. Clorox Co., No. 3:06-cv-02705-

 5    CAB (S.D. Cal. 2011); In re Kentucky Grilled Chicken (N.D. Ill. 2011); In re HP Inkjet Printer

 6    Litig., No. 05-03580 (N.D. Cal. 2011); and In re Toyota Motor Company Unintended

 7    Acceleration Marketing, Sales Practices and Product Liability Litig., No. 8:10-ML-2151 JVS

 8    (FMOx) (C.D. Cal. 2013); In re Quantcast Adv. Cookie Litig., No. 10-5484 (C.D. Cal. 2011);

 9    Masters v. Lowe’s Home Centers, Inc., No. 09-0255 (S.D. Ill. 2011); Schulte v. Fifth Third Bank,

10    No. 09-06655 (N.D. Ill. 2011); and Trombley v. National City Bank, No. 10-00232 (D.D.C.

11    2011).

12             7.     Mr. Cannata’s objections are most often submitted pro se, or on behalf of a family

13    member.

14             8.     Based on my and my associate’s review of the dockets and orders issued in these

15    cases, it appears that all of Mr. Cannata’s objections have been overruled or withdrawn. Every

16    court to rule on the merits of Mr. Cannata’s objections has rejected them.

17             9.     In In re Vytorin/Zetia, class counsel agreed to pay Mr. Cannata and a group of

18    other objector counsel $55,000 from class counsel’s fees and expenses.

19             I declare under penalty of perjury under the laws of the United States that the foregoing is

20    true and correct. Executed this 4th day of April 2014, at San Francisco, California.

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22                                                           /s/ Joseph M. Patane
                                                               Joseph M. Patane
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       DECLARATION OF JOSEPH M. PATANE IN SUPPORT OF IPPs’ RESPONSE TO OBJECTIONS TO
       FINAL APPROVAL OF CLASS ACTION SETTLEMENT WITH DEFENDANTS LG ELECTRONICS,
          INC.; LG ELECTRONICS USA, INC.; AND LG ELECTRONICS TAIWAN TAIPEI CO. LTD.
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                 EXHIBIT 1
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Joe Patane

From:                                 Sam. Cannata <spc@cplpa.com>
Sent:                                 Wednesday, March 26, 2014 1:42 PM
To:                                   Joe Patane
Subject:                              RE: CRT Antitrust Litigation Objection
Attachments:                          003.JPG




                                                 yesterday. I've


                                                            are



             contact me




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From: Joe Patane L!1_~,;!~"!''''Y~~~~~~~!.J.J
Sent: Wednesday, March 26, 2014 14:59
To: Sam. Cannata
Cc: ;.... ,,.i-.,,., . . . ~,(. . .\1t-"'t- ...
Subject: CRT Antitrust Litigation Objection

Dear Mr. Cannata:

I tried to contact you by telephone yesterday and left you a voicemail. I am one of the plaintiffs' counsel in the CRT
Litigation.
 In response to your client's objection, there is no request for attorneys' fees being made at this time. When such
request is made, class members will receive notice by the method set out in the FRCP and as instructed by the Court. In
the meantime, what we need from your client is the serial number and manufacture date (usually on the rear of the set)
and information as to where she purchased the TV ( store name and city).
Thank You
                                                                               1
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Joseph M. Patane



Joseph M. Patane
LAW OFFICE OF JOSEPH M. PATANE
2280 Union Street
San Francisco, CA 94123
Telephone: 415-447-1651
Facsimile: 415-346-0679



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21. CFR SU.BCHAPTER J .
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          .                                                    11

(2) THIS'DE:-VICE MU'ST A·CCEp·T ANY fNTERFE'RE:NCfl RECEIVED,
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